
DAVID MUZZI, Defendant Below-Appellant,
v.
STATE OF DELAWARE, Plaintiff Below-Appellee.
No. 422, 2007.
Supreme Court of Delaware
Submitted: November 5, 2007.
Decided: January 7, 2008.
Before STEELE, Chief Justice, HOLLAND, and RIDGELY, Justices.

ORDER
MYRON T. STEELE, Chief Justice.
This 7th day of January 2008, after careful consideration of appellant's opening brief and the State's motion to affirm, we find it manifest that the judgment below should be affirmed on the basis of the Superior Court's well-reasoned decision dated July 18, 2007. The Superior Court did not err in concluding that appellant's motion for postconviction relief was time-barred and that appellant had failed to overcome this procedural hurdle.
NOW, THEREFORE, IT IS ORDERED that the judgment of the Superior Court is AFFIRMED.
